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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN (COLUMBUS) DIVISION


 Brian Garrett, et al.,
 individually and on behalf of all others
 similarly situated,

                Plaintiffs,

 vs.                                            Civil Case 2:18-cv-00692-MHW-EPD

 The Ohio State University,                     Judge Michael H. Watson

                Defendant.                      Chief Magistrate Judge Elizabeth P. Deavers

                                                CONSOLIDATED CLASS ACTION


 Michael Alf, et al.,
 individually and on behalf of all others
 similarly situated,

                Plaintiffs,

 vs.                                            Civil Case: 2:21-cv-02542-MHW-EPD1

 The Ohio State University,                     Judge Michael H. Watson

                Defendant.                      Chief Magistrate Judge Elizabeth P. Deavers

                                                CLASS ACTION


               PLAINTIFFS’ CONSOLIDATED MOTION FOR RECUSAL
       AND TO TRANSFER VENUE WITHIN THE DISTRICT PER 28 U.S.C. § 1404(b)




 1
  The captioned cases are related to Cases No. 18-cv-736-MHW-EPD; 19-cv-2462-MHW-EPD,
 19-cv-4746-MHW-EPD, 19-mc-38, 20-cv-3817-MHW-EPD, 21-cv-2120-MHW-EPD, 21-cv-
 2121-MHW-EPD, 21-cv-2527-MHW-EPD, 21-cv-2542-MHW-EPD, 21-cv-2562-MHW-EPD,
 21-cv-3838-MHW-EPD, 21-cv-4254-MHW-EPD, and 21-cv-4340-MHW-EPD.
                                            1
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        Judicial impartiality is one of the most fundamental elements of the justice system.

 Litigants must be able to depend upon judges and fact finders to be disinterested and unbiased

 when deciding matters related to a lawsuit. Impartiality is so critical that Congress prohibits even

 the appearance of impropriety as an objective requirement for the judiciary. 28 U.S.C. § 455(a).

        For three years, contrary to Federal Rule 1, and despite notification that court-ordered

 mediation failed and material witnesses were becoming unavailable, this case has been stalled—

 literally, stayed. Now, with a newspaper report of a direct financial conflict, the prospect that a

 new judge will be appointed and resolve the Rule 12(b)(6) motions will mean further delay. Justice

 delayed is justice denied. All the while OSU, having enabled and then covered up the largest sex

 abuse scandal in the history of higher education, continues to pursue football championships and

 carry on like nothing has happened. Hundreds of victims remain in the litigation, still waiting for

 their case against OSU to be heard. While these litigants (and the press) have previously vilified

 the other side for causing delay, the role of the Court in administering the rules “to secure the just,

 speedy and inexpensive determination of every action” has become an object of scrutiny.

        When the hundreds of plaintiffs filed these many cases against OSU, including the above

 captioned class actions, they did so believing that, although OSU had wronged them and covered

 up its failures, they would get a fair opportunity in the federal courts to hold OSU accountable. It

 is time to ensure that there is no question about the impartiality of the Court, and that this case will

 be heard by someone with no conflicts, direct or indirect, actual or apparent.

        Clearly, the impropriety raised in the press here requires Judge Watson’s recusal. But

 whether the conflict is real or apparent, the fact is that these plaintiffs, who were abused as teenage

 boys by the combined power of OSU and its team doctor, will never get justice in Columbus. As

 Judge Watson has noted on the record, “every member of this bench probably, ha[s] at one time



                                                    2
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 or another served as an adjunct professor of Ohio State.” This has been essentially confirmed by

 other judges, who have consistently recused when The Ohio State University is involved. Plaintiffs

 respectfully request that, in addition to granting their request to recuse, this Court, in the interest

 of justice, transfer this and all related cases to a location in this district where both parties will

 receive the impartial consideration to which they are entitled. The victims deserve a level playing

 field for the first time in their lives.

                              RELEVANT FACTUAL BACKGROUND

          A. Procedural History of the Case

          1.      The above cases are putative class actions brought under Title IX by former male

 students of The Ohio State University (“OSU”) who were sexually assaulted, battered, molested,

 and/or harassed by long-time OSU assistant professor and practicing physician Dr. Richard

 Strauss.

          2.      Plaintiffs allege—and later OSU-funded Perkins Coie Report confirmed—that

 OSU’s pre-assault failures heightened their risk of being abused, and that OSU’s policies and

 practices enabled, contributed to, and resulted in students in fact suffering sexual discrimination,

 harassment, and assault by Dr. Strauss from 1978 to 1998. Appropriate persons at OSU had actual

 knowledge of the sexual discrimination, harassment, and assault by Strauss, yet OSU was

 deliberately indifferent to these known acts, and ignored and concealed knowledge and reports of

 abuse until they recently became public in the spring of 2018.

          3.      A year-long independent investigation by law firm Perkins Coie concluded, in a

 report published in May 2019, that Strauss sexually abused at least 177 male students and athletes

 over his twenty-year tenure, 2 and that OSU athletic directors, assistant athletic directors, coaches,



 2
     Given the 300-some individual plaintiffs and class representatives remaining in the pending
                                                   3
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 trainers, administrators, physicians, and health officials knew about sex abuse reports made by

 students against Strauss and took no action to stop him but instead whitewashed his legacy for

 another twenty years.3

         4.      Plaintiffs filed their original Complaint on July 16, 2018 (Doc. 1), which continues

 to toll the Statute of Limitations for all putative members of class.4

         5.      Plaintiffs filed an Amended Complaint on October 26, 2018. (Doc. 33).

         6.      On November 9, 2018, Defendant filed a Motion to Dismiss Plaintiffs’ First

 Amended Complaint under Rule 12(b)(6), arguing the entire case should be barred by the statute

 of limitations. (Doc. 38).

         7.      Discovery was stayed at OSU’s request. (Doc. 46).

         8.      On January 17, 2019, the Court held a hearing at which assigned Judge Michael H.

 Watson disclosed for the first time that he was an adjunct professor at defendant OSU’s law school

 and was currently teaching. See Doc. 52, attached as Exhibit 1 (“Jan. 2019 Hrg. Tr.”)).

         9.      The Court advised that:




 actions, “at least” was quite an understatement.
 3
    See Funk, Markus and Caryn Trombino, Perkins Coie LLP, Report of the Independent
 Investigation, Sexual Abuse Committed by Dr. Richard Strauss at The Ohio State University, May
 15, 2019, (hereinafter “Perkins Coie Report”).
 4
   Under American Pipe, the operative date of the filing of the Title IX claims for each and every
 member of the class (named and unnamed) is July 16, 2018, the date of the original class action
 complaint. The filing tolls the statute of limitations until class certification is denied. American
 Pipe & Constr. Co. v. Utah, 414 U.S. 538, 554 (1974) (footnote omitted) (“[T]he commencement
 of a class action suspends the applicable statute of limitations as to all asserted members of the
 class who would have been parties had the suit been permitted to continue as a class action.”); see
 also Crown, Cork & Seal Co. v. Parker, 462 U.S. 345, 346–47 (1983) (extending doctrine, holding
 “all members of the putative class [may] file individual actions in the event that class certification
 is denied, provided ... that those actions are instituted within the time that remains on the limitations
 period.”); accord In re Vertrue Inc. Mktg. & Sales Practices Litig., 719 F.3d 474, 478 (6th Cir.
 2013).
                                                    4
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                if any party “want[ed] to take shots, you can take shots. I'm thinking that
        my intention is to stay on the case and, nonetheless, I'm letting you know in case
        you want to raise something.
                The Court does not intend to rule anytime soon on the motions to stay
        discovery or the motions to dismiss. The Court intends that we will mediate these
        cases and that we will do so beginning within the next 30 days.
        (Jan. 2019 Hrg. Tr. at 3:25 – 4:7).

        10.     The Court further advised that “every member of this bench probably, have at one

 time or another served as an adjunct professor of Ohio State.” Jan. 2019 Hrg. Tr. at 3:22-24.

        11.     In an order following the hearing, the Court directed the parties to participate in

 mediation, and held “in abeyance” a ruling on Defendant’s Motion to Dismiss. (Doc. 50).

        12.     During this time, many related actions were filed against OSU arising from its role

 in the sexual abuse of its students, and the cases were consolidated. (Doc. 132.) Some of the later-

 filed cases were resolved in mediation and were settled. Others, including the above-captioned,

 first filed Garrett case, were not. The plaintiffs in these cases repeatedly requested that the Court

 reinstate a case schedule and permit parallel mediation and litigation efforts, including permitting

 limited discovery and ruling on the motion to dismiss. (See, e.g., Docs. 81, 138, 141, 152.)

        13.     On April 17, 2020, after a year of fruitless mediation, the Court entered an order

 partially lifting the stay and directing that an amended consolidated complaint be filed as to the

 non-settling cases. (Doc. 151.)

        14.     On May 27, 2020, Plaintiffs in the above-captioned Garrett case filed a

 consolidated amended complaint, asserting the same Title IX claim. (Doc. 157).

        15.     On July 7, 2020, Defendant OSU again filed its Motion to Dismiss based on the

 statute of limitations (Doc. 162); Plaintiffs responded (Doc. 169) and OSU replied (Doc. 170).

        16.     Plaintiffs continued to seek discovery, on the basis that deponents with material

 knowledge were becoming infirm or dying, but only limited discovery has been permitted, and



                                                  5
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 confidentiality restrictions have been imposed throughout the pendency of the mediation. Doc.

 173.

        17.     Despite the failure of mediation, and within days of the Mediator finally informing

 this Court of the same, OSU filed on the Court’s public docket on May 3, 2021, an unprecedented

 “notice of intent” to establish an “individual settlement program.” (Doc. 176.)

        18.     OSU did not and has not communicated with any counsel for the 245+ represented

 survivors about individualized offers of settlement.

        19.     This Court held a status conference on May 13, 2021. See Doc. 179, attached as

 Exhibit 2 (“May 2021 Hrg. Tr.”).

        20.     At this hearing, the Court said:

                a. There was no need for oral argument on the pending motion to dismiss. Id. at

                    4:4-5.

                b. “The Court will be issuing its ruling on the pending motions to dismiss no later

                    than the end of September of 2021.” Id. at 3:21-22.

                c. OSU’s settlement program, which was set to close the first week of September,

                    is “important[t]” and a “good thing.” Id. at 3:16-17;

                d. Finally, the Court stated, “I encourage settlement early and often, folks.” Id. at

                    4:10.

        21.     The window for participating in OSU’s Individual Settlement Program closed on

 September 4, 2021.5




 5
   Under the terms of the settlement program, individual plaintiffs submitting to settlement were
 required to submit irrevocable releases of their claims against OSU, without knowing the amount
 of their settlement, if any. See https://straussindividualsettlementprogram.com/wp-
 content/uploads/2021/05/protocol-strauss-individual-settlement-program.pdf.
                                                   6
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        Court’s disclosure of information about Judge Watson’s wife’s on-going business
        relationship with Defendant OSU.

        22.     On September 9, 2021, this Court scheduled and held a few hours later a telephone

 conference with all parties. See Doc. 191, restricted transcript (“Sept. 2021 Hrg. Tr.”).

        23.     In that conference, the Court notified the parties about a reporter’s inquiry that

 caused the Court (Watson, J.) to provide previously-undisclosed information concerning Judge

 Watson’s wife’s business.

        24.     Specifically, the Court disclosed that Judge Watson’s wife owns a business that

 manufactures and sells flags, including The Ohio State University (“OSU”) flags; the Court

 disclosed that her business has a licensing agreement with Defendant and pays OSU a 12 percent

 royalty on each authorized OSU-trademarked product that the business sells.

        25.     The Court noted that “neither my wife nor I have a financial interest in the Ohio

 State University as defined by the [Judicial Code of Conduct]” and that recusal from cases

 involving OSU are therefore not mandated, but “the fact that a member of the public has inquired

 about it leads me to believe that the appearance of impropriety may be implicated.”

        26.     Since then, NBC News and The Columbus Dispatch have reported that, separate

 from the licensing agreement, OSU made certain financial payments to Judge Watson’s wife’s

 business, information that (if true) has not yet been disclosed by the Court or by Defendant OSU.6

        27.     The Columbus Dispatch reported a statement from OSU spokesman Ben Johnson

 that in 2021, OSU paid Judge Watson’s wife’s business less than $16,000. It also reported that




 6
   https://www.nbcnews.com/news/us-news/judge-presiding-over-ohio-state-sex-abuse-scandal-
 lawsuits-flagged-n1278935, attached as Exhibit 3 (“NBC article”);
 https://www.dispatch.com/story/news/2021/09/13/federal-judge-gives-plaintiffs-option-recuse-
 him-strauss-cases/8316905002/ Attached as Exhibit 4 (“Dispatch article”).
                                                  7
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 Judge Watson is paid $13,500 for teaching a course at OSU’s law school, typically each spring.7

 Plaintiffs do not know what, if any, payments Defendant made to the Court’s family business in

 prior years during which this action, and others, have been pending.

        28.     The reported payments of $16,000 from OSU to Judge’s Watson’s wife’s business

 in 2021, plus the $13,500 reported payment to Judge Watson himself for service as an adjunct

 professor total $29,500, over 13% of a federal district court judge’s salary for that same year.8

        B. Other Active Judges in the Eastern Division at Columbus.

        29.     In addition to Judge Watson, the active Article III judges of the Southern District

 of Ohio serving in the Eastern Division at Columbus currently include: Hon. Algenon L. Marbley;

 Hon. Edmund A. Sargus, Jr.; and Hon. Sarah D. Morrison.9

        30.     Publicly available sources confirm the connections that members of the bench in

 the Southern District of Ohio, Columbus Division, have with defendant OSU.

        31.     Chief Judge Marbley has been employed as an adjunct professor at OSU’s Moritz

 College of Law since 1998, and served on its Board of Trustees from 2005 - 2015.10

        32.     Judge Sargus is employed as an adjunct professor at OSU’s Moritz College of Law

 since 2005, teaching Trial Advocacy in the fall and Evidence in Trials in the spring.11

        33.     Judge Morrison, confirmed to the bench in June 2019, received her undergraduate

 degree from OSU.




 7
   Ex. 4, Dispatch article.
 8
   See https://www.uscourts.gov/judges-judgeships/judicial-compensation, noting district judge
 salary in 2021 is $218,600.)
 9
   https://www.ohsd.uscourts.gov/content/columbus
 10
    https://www.ohsd.uscourts.gov/biomarbley
 11
    https://www.ohsd.uscourts.gov/BioSargus
                                                  8
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        34.     Judges Marbley and Sargus have publicly announced that they regularly recuse

 from cases in which OSU is a party.12

        35.     In contrast, of the three active Article III judges in the Western Division at

 Cincinnati, at least two have no apparent connections to the Ohio State University that might

 implicate their impartiality.13

        36.     OSU’s pending Motion to Dismiss the Consolidated Complaint (Doc. 162) does

 not dispute the sufficiency of the allegations establishing its liability under federal Title IX.

        37.     The median length of time from filing a civil case to disposition of the case (i.e.,

 termination, whether by trial or other method) in the Southern District of Ohio, averaged over the

 last four years, is 17.8 months.14

        38.     The above-captioned civil case has been pending 38 months and has not proceeded

 to discovery or past Rule 12(b)(6) motions practice.

                 ARGUMENT AND AUTHORITY REGARDING RECUSAL

        A. Recusal or Disqualification Is Required Where a Judge or Spouse Has a
            Financial Interest in a Party and Circumstances Raise Reasonable Questions as
            to Impartiality.
        In 28 U.S.C. § 455(a), Congress established a clear standard governing disqualification of

 federal judges15: “[a]ny justice, judge, or magistrate judge of the United States shall disqualify



 12
    Judge Yet to Explain Sudden Departure From Case, Columbus Dispatch, Jan. 7, 2012
 (available at https://www.dispatch.com/article/20120107/news/301079855), attached as Exhibit
 5 (“2012 Dispatch Article”).
 13
    Judge Cole served as a professor at OSU’s Moritz College of Law. Additionally, the Western
 Division at Cincinnati; Senior Judge Michael Barrett is disqualified due to his service as
 appointed Mediator in this case.
 14
    See U.S. District Courts—Federal Court Management Statistics–Profiles—During the 12-
 Month Periods Ending March 31, 2016 Through 2021
 https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile0331.2021.pdf (see
 p. 43).
 15
    These standards are echoed in the Code of Judicial Conduct for United States Judges published
 by the United States Courts Administrative Office, available at https://www.uscourts.gov/judges-
                                                    9
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  himself in any proceeding in which his impartiality might reasonably be questioned.” See also

  Code of Jud. Conduct Canon 3(C)(1). The parties may consent to waive such disqualification if it

  “is preceded by a full disclosure on the record of the basis for the disqualification.” 28 U.S.C. §

  455(e); see also Code of Jud. Conduct Canon 3(D). Even assuming there has been full disclosure

  here, which is subject to reasonable doubt, at least one party does not consent.

         Disqualification is also required – and cannot be waived by consent of the parties, see §

  455(e) – in circumstances listed in § 455(b), including where the judge “knows that he, individually

  or as a fiduciary, or his spouse or minor child residing in his household, has a financial interest in

  … a party to the proceeding, or any other interest that could be substantially affected by the

  outcome of the proceeding.” 28 U.S.C. § 455(b)(4); see also Code of Jud. Conduct Canon

  3(C)(1)(c). This provision is absolute, requiring a judge to take recusal action without regard to

  any appearance of impropriety if there is such “financial interest.” Hall v. City of Williamsburg,

  768 F. App'x 366, 371 (6th Cir. 2019) (citing 28 U.S.C. § 455(b)(4)). A judge has an obligation to

  “inform himself about his personal and fiduciary financial interests, and make a reasonable effort

  to inform himself about the personal financial interests of his spouse and minor children residing

  in his household.” 28 U.S.C. § 455(c); see also Code of Jud. Conduct Canon 3(C)(2). Financial

  interest means “a legal or equitable interest, however small.” 28 U.S.C. § 455(d)(4); see also Code

  of Jud. Conduct Canon 3(C)(3)(c).

         Section 455 is a “self-executing provision for the disqualification of federal judges.”

  Roberts v. Bailar, 625 F.2d 125, 128 (6th Cir. 1980) (holding that judge should have recused

  himself after making a comment about personally knowing defendant). The standard for subsection

  (a) is objective, asking what a reasonable person knowing all the relevant facts would think about



  judgeships/code-conduct-united-states-judges#d.
                                                   10
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  the impartiality of the judge. Roberts, 625 F.2d at 129. The standard for subsection (b) is express.

  Even when the question is close, “[i]f there is a reasonable factual basis for doubting the judge’s

  impartiality, [then] the judge should disqualify himself and let another judge preside over the

  case.” Id. at 129. The Code of Conduct for United States Judges holds that a judge should not hear

  and decide a matter if they are disqualified. Code of Jud. Conduct Canon 3(A)(2).

         B. Recusal is Required And The Case Must be Reassigned to an Objectively
            Neutral Judge.

         Early on in this litigation, Judge Watson disclosed that he has a current and ongoing

  relationship with the defendant, OSU, as an adjunct professor at its law school.16 At the time the



  16
     "It is permissible for judges to teach in law schools. However, the judge should not participate
  in any case in which the school or its employees are parties." Guide to Judiciary Policies and
  Procedures, 1999 Ed., Vol. II, Chap. V, §4.1(b), at p. V-57. The Guide to Judiciary Policy, Vol.
  2, Ch. 3, Compendium of Selected Opinions, provides the following guidance for Judges teaching
  at law schools:
           § 3.4-3 Law School Teaching
           (a) A judge who teaches at a law school should recuse from all cases involving that
           educational institution as party. The judge should recuse (or remit) from cases
           involving the university, as well as those involving the law school, where the
           judge’s impartiality might reasonably be questioned in view of the size and
           cohesiveness of the university, the degree of independence of the law school, the
           nature of the case, and related factors....
  Guide to Judiciary Policies and Procedures, 1999 Ed., Vol. II, Chap. V, §3.4-3(a), at p. V-39.
  While some judges have taken the view that employment as an adjunct professor does not
  automatically require recusal, judges who sit on the Court of Appeals for the Sixth Circuit have
  recused themselves from cases involving the colleges and universities at which they have taught.
  See Crosby v. University of Kentucky, 863 F.3d 545 (6th Cir. 2017) (Judge Rogers recused himself
  from consideration of appeal against University of Kentucky College of Public Health and he was
  a law professor at University of Kentucky College of Law); Erlinder v. William Mitchell College
  of Law, 0:14-CV-01477, Docket No. 3 (D. Minn. May 12, 2014) (disqualifying all U.S. District
  Judges and Magistrate Judges of the District of Minnesota because of ties to the defendant school
  of law). See contra Szeinbach v. Ohio State University, 2015 WL 12991136 (S.D. Ohio July 8,
  2015) (holding that employment with OSU as adjunct professor did not require recusal because
  the School of Law was not involved in the lawsuit and the Magistrate Judge was only deciding the
  issue of attorney’s fees and relying upon lack of precedent on specific issue of recusal when judge
  teaches at for a party). And within the Eastern Division at Columbus, Judges Marbley and Sargus
  routinely recuse themselves from lawsuits involving OSU in the past due to their connections with
  OSU and the Moritz College of Law. See Ex. 5 “2012 Dispatch Article”.
                                                  11
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  Court made this disclosure, it also noted that every other member of the bench had a similar

  relationship with OSU. Without awaiting response from the parties, the Court announced its intent

  to stay on the case and see that this case be mediated, beginning immediately.

         Even at that time, Judge Watson expressed his interest in ensuring that this case was

  handled in a manner that avoided anything improper, embarrassing, undignified or unprofessional:

         In preparing for this case, the Court has been watching what's going on in Michigan
         as well. One might say that there is -- there have been some fairly embarrassing
         revelations, I think, ... I think there was a resignation involved. I want to avoid that.
         I want to avoid all of that.

         This case needs to be handled in a manner that is worthy of a great institution and
         these victims need to be dealt with as the Chairman of the Board of Trustees has
         indicated that he is committed to doing. [Referring to Chairman Gasser’s
         commitment to plaintiffs at the Board of Trustees’ meeting that, rest assured, OSU
         was not dismissing them, and that OSU was committed to doing the right thing].

  Jan. 2019 Hrg. Tr. at 5:6 – 16, 4:20-24.

         The fact that the latest on-going financial interest was only disclosed after a media inquiry

  and public revelation is particularly concerning. And additional details reported in the press –

  regarding a separate contract or contracts for purchase of services or products resulting in direct

  financial benefit to the judge’s spouse – have not disclosed by either the Court or by OSU or

  otherwise confirmed. These public reports create and compound objectively reasonable doubts.

         In the nearly three years since the Court’s first disclosure of a conflict and its order that the

  parties mediate, OSU literally did seek to dismiss Plaintiffs’ claims, on the basis of a waivable

  affirmative defense of statute of limitations. And despite multiple motions and reports that

  mediation was not successful, mediation was at an impasse, requesting that the Court reinstate a

  case schedule, permit discovery, and rule on the pending motions, Judge Watson, contrary to Rule

  1, delayed rulings and has effectively held the Plaintiffs’ claims hostage. During these years,

  individual plaintiffs and material witnesses have died or become incapacitated. Now, within days

                                                    12
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  before issuing a promised and long-awaited ruling on OSU’s motion to dismiss, the Court discloses

  another conflict, one that, if reports are true, has resulted in the assigned Judge receiving a financial

  benefit from the Defendant during the years that this litigation has been pending.

          As the Court has acknowledged, the press, public, and – more importantly – the plaintiff-

  victims, now have questions about whether justice has been or can be administered fairly and

  impartially before the assigned Judge. While many questions remain regarding the details, the

  timing and the nature of this late-disclosed business venture between OSU and Judge Watson’s

  wife, and the direct financial interest reported in the Columbus Dispatch raise reasonable doubts

  regarding this Court’s ability to oversee this case in an impartial manner and trigger automatic

  disqualification. 28 U.S.C. § 455. Indeed, under the express language of (b)(4), the Court’s and his

  wife’s “financial interest” in a “party to the proceeding” is automatically and non-waivably

  disqualifying.17 The size of the financial conflict is irrelevant to this analysis. 28 U.S.C. §

  455(d)(4).




  17
     It is worth noting that the words “or any other interest that could be substantially affected by the
  outcome of the proceeding” could be read to modify a disqualifying “financial interest.” If this
  were the case, a financial interest in “a party to the proceeding” would only be disqualifying if the
  interest was such that it could be “substantially affected by the outcome of the proceeding.”
  However, Plaintiffs’ research reveals that the only circuit court to have addressed this issue has
  rejected it, as acknowledged in In re Cement & Concrete Antitrust Litig., 515 F. Supp. 1076, 1078
  (D. Ariz. 1981) (granting recusal motion), mandamus denied, 688 F.2d 1297 (9th Cir. 1982), aff'd,
  459 U.S. 1190 (1983):
           The statute differentiates between two kinds of interests. If the judge has a direct
           ownership, legal or equitable, then disqualification is required regardless of the size
           of the interest, unless one of the specified exceptions applies. On the other hand, an
           interest not entailing direct ownership falls under “other interest,” and requires
           disqualification only if the litigation could substantially affect it. 515 F. Supp. at
           1078 (citing In re New Mexico Natural Gas Antitrust Litig., 620 F.2d 794, 796 (10th
           Cir. 1980), Opinion of the Advisory Committee on Codes of Conduct of the Judicial
           Conference of the United States, May 7, 1981 at 3).
                                                     13
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          As this Court said, “ethical considerations are [of] the utmost importance … to the parties

  and to the public, as well as the federal judiciary as a whole.” Sept. 2021 Hrg. Tr. at 8:23-25. The

  mere existence of a reasonable basis to doubt the court’s impartiality mandates recusal under 28

  U.S.C. § 455(a), as does the financial conflict under 28 U.S.C. § 455(b)(4). Therefore, Plaintiffs

  respectfully request that this Honorable Court grant their Consolidated Motion to Recuse.

       ARGUMENT AND AUTHORITY REGARDING INTRADISTRICT TRANSFER

          A. Civil Rules Permit Transfer Within a Judicial District Where Interests of Justice
             Are Served.

          28 U.S.C. § 1404(b) governs the transfer of civil cases within a judicial district. Under 28

  U.S.C. § 1404(b), “[u]pon motion ... any action, suit or proceeding of a civil nature or any motion

  or hearing thereof, may be transferred, in the discretion of the court, from one division in which

  pending to any other division in the same district.” Such transfers are subject to the same analysis

  as under § 1404(a) governing transfer of civil cases to different judicial districts but are “judged

  by a less rigorous standard.” Verhovec v. City of Trotwood, No. 2:14-CV-0274, 2014 WL 5426398,

  at *1–2 (S.D. Ohio Oct. 22, 2014) (quoting Hanning v. New England Mut. Life Ins. Co., 710 F.

  Supp. 213, 215 (S.D. Ohio 1989)).

          28 U.S.C. § 1404(a) provides that, “[f]or the convenience of parties and witnesses, in the

  interest of justice, a district court may transfer any civil action to any other district or division

  where it might have been brought or to any district or division to which all the parties have

  consented.”

          While a party seeking transfer under § 1404(a) bears the burden of showing that the

  relevant factors weigh “strongly in favor of” transfer, a party seeking transfer within a district bears

  a “less rigorous” burden. “A district court deciding a § 1404(a) motion ‘has broad discretion to

  grant or deny’ the requested transfer.” Id., Tech–Sonic, Inc. v. Sonics & Materials, Inc., 2012 WL

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  4343103, at *2 (S.D. Ohio Sept. 21, 2012), quoting Phelps v. McClellan, 30 F.3d 658, 663 (6th

  Cir. 1994).

         In the Southern District of Ohio, S.D. Ohio Local Rule 82.1 governs the venue of actions,

  and as a general rule, assigns cases to the division serving the county within which a corporate

  defendant resides, i.e., where its principal place of business is located or where it has the most

  significant contacts. 82.1(c), (d). The Eastern Division at Columbus serves Franklin County, in

  which OSU’s main campus is located. See S.D. Civ. R. 82.1(b). Upon its first filing in July 2018,

  the above-captioned Garrett case and later related cases including the above-captioned Alf case,

  were properly filed in the Eastern Division, Columbus. Further, these cases and others, because

  administratively related, have all been assigned to Judge Watson.

         However, in light of the appearance of impropriety raised by recent revelations as well as

  the cumulative nature of the conflicts, which are shared across the board by the active judges within

  the Eastern Division, Plaintiffs respectfully request that, pursuant to § 1404(b) and in the interests

  of justice, the above-captioned cases be transferred to the Western Division at Cincinnati, rather

  than being reassigned within this division.

         B. Transfer Is Well Within this Court’s Discretion, Is Justified by the Interests of
            Justice in Avoiding Appearance of Impropriety, Serves both Private and Public
            Interests, and will not Unduly Inconvenience or Prejudice any Party.

         In determining whether to permit transfer, the Court should consider the three factors

  enumerated in § 1404(a) (convenience of parties, convenience of witnesses, or interests of justice),

  and any other facts relevant to determine whether, on balance, the litigation “would more

  conveniently proceed and the interests of justice be better served by transfer to a different forum.”

  See Verhovec, 2014 WL 5426398, at *1–2 (quoting 15 Wright, Miller & Cooper, Federal Practice




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  & Procedure: Jurisdiction and Related Matters, (2d Ed.1986), § 3847; see also Slate Rock Const.

  Co. Ltd. v. Admiral Ins. Co., 2011 WL 3841691, *6 (S.D. Ohio Aug. 30, 2011).

         Plaintiffs respectfully request that, rather than be reassigned within this division, this case

  be transferred to the Western Division at Cincinnati, a court location within this district that, while

  less than two hours from Defendant OSU, houses no OSU campus and where the impartiality of

  the Court is not subject to reasonable doubt.

         As demonstrated by the facts herein, the judges in the Eastern Division at Columbus all

  have a connection to OSU. Both parties and the public are entitled to and deserve to have the

  claims heard in a neutral forum. The Eastern Division is not that forum. Plaintiffs have suffered a

  long time in silence due to Strauss’s abuse. But when they first learned that OSU played a role in

  their abuse – that OSU could have, but did not, prevent it, and that OSU ignored, dismissed, and

  concealed decades of reports of abuse – they filed this action in an effort to hold OSU accountable

  for its violations of federal law. They filed this action to finally be heard, win or lose. For justice

  to be administered. But for nearly three years, these Plaintiff-victims have not been heard. Justice

  has not been forthcoming. They’ve been subject to confidentiality restrictions due to the court-

  ordered mediation; they’ve been denied discovery; they’ve been denied a ruling on a threshold

  legal issue. Now they learn that the judge overseeing their case, in addition to being a contract

  employee of the defendant, is married to a licensee of the Defendant and whose business, according

  to the media, receives financial support from the Defendant. They also know that the other judges

  in the Eastern Division have similar and other ties to the Defendant.

         To ensure impartial consideration – and to preserve the appearance of the same – this case

  should be moved to Cincinnati, the farthest division from Columbus. The judges and jurors there

  are objectively less likely to lean in favor of OSU in football, in allegiance, and in this lawsuit.



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  Indeed, the lobbying power of OSU can be felt state-wide, and ironically, instead of being

  prosecuted by the Ohio Attorney General, OSU is being defended by that office. There is no place

  in Ohio that Defendant cannot easily defend its case. Indeed, its main campus is less than two

  hours from Cincinnati. Witnesses, parties and counsel are spread across the country. In the interest

  of justice, to preserve the integrity of the judiciary in the perspective of the public and the parties,

  Plaintiffs respectfully request intradistrict transfer pursuant to 28 U.S.C. § 1404(b).


                                                  Respectfully Submitted,

                                                  /s/ Simina Vourlis____________
                                                  Simina Vourlis
                                                  The Law Office of Simina Vourlis
                                                  856 Pullman Way
                                                  Columbus, OH 43212
                                                  (614) 487-5900
                                                  (614) 487-5901 fax
                                                  svourlis@vourlislaw.com

                                                  Rex A. Sharp
                                                  Larkin Walsh
                                                  Sarah T. Bradshaw
                                                  SHARP LAW, LLP
                                                  5301 W. 75th Street
                                                  Prairie Village, KS 66208
                                                  (913) 901-0505
                                                  (913) 901-0419 fax
                                                  rsharp@midwest-law.com
                                                  lwalsh@midwest-law.com
                                                  sbradshaw@midwest-law.com

                                                  Robert Allard
                                                  CORSIGLIA, MCMAHON AND ALLARD, LLP
                                                  96 North Third Street, Suite 620
                                                  San Jose, CA 95112
                                                  (408) 289-1417
                                                  (408) 289-8127 fax
                                                  rallard@cmalaw.net

                                                  Stephen Estey
                                                  ESTEY & BOMBERGER LLP

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                                               2869 India Street
                                               San Diego, CA 92103
                                               619-295-0035
                                               619-295-0172 fax
                                               steve@estey-bomberger.com

                                               Daniel R. Karon (#0069304)
                                               KARON LLC
                                               700 W. St. Clair Ave., Suite 200
                                               Cleveland, OH 44113
                                               Tel.: 216.622.1851
                                               dkaron@karonllc.com

                                               Joseph Sauder
                                               SAUDER SCHELKOPF LLC
                                               1109 Lancaster Avenue
                                               Berwyn, PA 19312
                                               (610) 200-0580
                                               (610) 421-1326
                                               jgs@sstriallawyers.com

                                               COUNSEL FOR PLAINTIFFS

                                  CERTIFICATE OF SERVICE

         It is hereby certified that a true and correct copy of the foregoing document was filed and

  served, via the Court’s CM/ECF system on September 15, 2021, on all counsel of record.



                                               By:    /s/ Simina Vourlis___________
                                                      Attorney for Plaintiffs




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